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                                 UNiTED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


    GUY GENTILE,                                               Civil Action No.: 19-5 155 (JLL) (JAD)
                         Plaintiff,
                                                                           OPINION
    V.


    SECURITIES AND EXCHANGE
    COMMISSION,

                        Defendants.


    LINARES, Chief District Judge.

           This matter comes before the Court by way of Plaintiff Guy Gentile’s motion for a

    preliminary injunction against Defendant Securities and Exchange Commission (“SEC”), (ECE

    No. 5), and the SEC’s motion to dismiss, (ECF No. 11). The Court decides this matter without

    oral argument pursuant to Rule 78 of the Federal Rules of Civil Procedure. For the reasons set

    forth below, the Court grants the SEC’s motion to dismiss and denies Plaintiff’s motion for a

    preliminary injunction as moot.



                                         I.    BACKGROUND1

           The Court has previously summarized the facts underlying this dispute in its March 8, 2019

    Opinion denying Plaintiff’s exparte application for a temporary restraining order (“TRO”). (ECF

    No. 6). The Court therefore includes an abbreviated statement of the factual and procedural history

    to the extent such background is relevant to the instant motions.



    ‘This background is derived from allegations in the Complaint, (ECf No. 1 (“Compi.”)), which the Court
     accepts as true at this stage of the proceedings. See Atston Countiywide Fin. Corp., 585 F.3d 753, 758
     (3d Cir. 2009).
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           On february 8. 2019, Plaintiff filed this action for declaratory and injunctive relief to

    prevent an ongoing investigation into his activities conducted by the Miami Regional Office of the

    SEC. (Compl. ¶ I). Since around August of 2015, Plaintiff has been aware of an SEC investigation

    out of the Miami Regional Office into whether Plaintiff and his Bahamas-based broker-dealer,

    SureTrader, improperly solicited United States customers. (Compi.          ¶ 27, 36—37, 88).           According

    to Plaintiff, the Florida SEC investigation relies on a formal order of investigation (“fOI”) dated

    November 5, 2013 entitled “In the matter of Traders Café, LLC.” which authorizes an investigation

    into individuals related to an entity called Traders Café. (Compi.          ¶   2). The Traders Café FOI

    “makes no reference to [Plaintiff] or anyone or anything related to him.” (Compi.                 ¶ 2).   Indeed,

    Plaintiff alleges that there is no connection whatsoever between Traders Café and Plaintiffs

    Bahamian broker-dealer, other than the fact that Traders Café maintains or maintained an account

    at Plaintiffs broker-dealer. (Cornpl.     ¶J 2. 27, 30).   Plaintiff therefore argues that the Traders Café

    FOl is an improper basis for an investigation into Plaintiff and his broker-dealer, and that the SEC

    Miami Regional Office lacks the necessary authority to proceed or to enforce existing subpoenas

    absent a proper fOl. (Compl.      ¶J   1—3, 33). Accordingly, Plaintiffs action seeks “to quash several

    subpoenas and any evidence obtained through them that [were] served.             .   .   pursuant to the Traders

    Café FOl.” (Compi.    ¶ 5).   He also seeks “a declaration ordering the SEC to cease its unauthorized

     ‘investigation.” (Compl.     ¶ 5).
            Plaintiff further alleges that the Florida investigation is an attempt by the SEC to revive

     claims against Plaintiff that were dismissed by this Court in 2017. (Compl.              ¶J 60—61).    The Court

     assumes the parties’ familiarity with the facts underlying the prior SEC civil enforcement

     proceedings against Plaintiff before this Court, but a brief summary is provided to the extent the

     facts are relevant to the instant motions. In March of 2016, the SEC Northeast Regional Office



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    filed a complaint against Plaintiff seeking equitable relief in connection with two penny stock

    manipulation schemes. SECv. Gentile, No. 16-1619, 2017 WL 6371301, at *1 (D.N.J. Dec. 13,

    2017). On December 13, 2017, this Court dismissed the SEC’s complaint, concluding that the

    action was barred by a five-year statute of limitations under 28 U.S.C.   § 2462.   Id. at *4 The SEC

    appealed that decision, which remains under review by the Third Circuit. See SEC v. Gentile, No.

    18-1242 (3d Cir., filed Feb. 2, 2018).       Plaintiff alleges that the SEC is using the Florida

    investigation as a pretext to gather additional information to further its case in New Jersey and to

    overcome the statute of limitations. (Compi.    ¶J   60—6 1). He also argues that, to the extent the

    Florida investigation was ongoing during periods when the New Jersey enforcement proceedings

    were stayed, any subpoenas issued during that time violated the stay. (Compl.        ¶ 62).
           On February 6, 2019, the SEC Miami Regional Office filed two actions in the United States

    District Court for the Southern District of Florida to enforce subpoenas issued to Carla Mann,

    Plaintiffs personal attorney, (Compl.   ¶ 78), and MinTrade Technologies,    LLC, seeking testimony

    and documents related to Plaintiff and his Bahamian broker-dealer. (Compl.          ¶ 94); see also   SEC

    v. Mann, No. 19-20493 (S.D. Fla., filed Feb. 6, 2019); SEC v. MinTrade Techs., LLC. No. 19-

    20496 (S.D. Fla., filed Feb. 6, 2019). These Florida enforcement proceedings prompted Plaintiffs

    initiation of this action two days later. (Compl. ¶ 94). On March 4,2019, the SEC issued Litigation

    Release No. 24415, publicly announcing the enforcement actions against Marin and MinTrade

    Technologies.   (ECF No. 5-28).     The Litigation Release describes the subpoenas as seeking

    documents and testimony “related to activities conducted by a foreign-based broker-dealer and its

    principal concerning potential violations of the federal securities laws involving solicitation of

    U.S.-based customers and the movement of customer funds.” (ECF No. 5-28).

           Plaintiff filed an exparte application for a TRO and preliminary injunction motion one day



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   after the SEC issued the Litigation Release. (ECF No. 5). Plaintiff argues that the language in the

    Litigation Release “explicitly refer[s] to [Plaintiff] and his Bahamas-based broker-dealer.” (ECF

   No. 5-40 (“P1 Br.”) at 5). Plaintiff claims that the release “was intended to tar [Plaintiff] as a

    wrongdoer” and to “inflict maximum harni to [Plaintiff] before this Court had an opportunity to

    rule on his cause of action.” (P1 Br. at 5). Plaintiff argues that the ongoing Florida investigation

    is intended only to harass him, to blacklist him in his business community, and to circumvent this

    Court’s 2017 dismissal of the SEC’s claims of penny stock manipulation.            (P1 Br. at 6, 2$).

    Plaintiff therefore asked this Court for immediate intervention to stern the ongoing stigmatization

    and loss of business that has resulted from the Florida investigation. (P1 Br. at 9—10).

           On March 8, 2019, this Court denied Plaintiffs application for a TRO, concluding that

    Plaintiff had “failed to demonstrate a ‘clear showing of immediate irreparable injury’ in the

    absence of a TRO” pending a decision on the preliminary injunction motion. (ECF No. 6 at 5

    (quoting ECRIv. McGraw—Hill, Inc., $09 F.2d 223, 226 (3d Cir. 1987)). The Court ordered the

    SEC to reply to Plaintiffs preliminary injunction motion and directed the parties “to address any

    issues concerning the proper jurisdiction and/or venue for this matter in their briefing.” (ECF No.

    7 at 2). On March 29, 2019, the SEC filed a combined opposition to Plaintiffs preliminary

    injunction motion and a motion to dismiss. (ECF No. 11). The SEC moves to dismiss under Rule

    12(b)(1) of the Federal Rules of Civil Procedure, arguing that this Court lacks subject matter

    jurisdiction over this action because the SEC has not waived sovereign immunity. (ECF No. 11-1

    (“MTD Br.”) at 2 1—27). The SEC also argues that the Southern District of Florida retains exclusive

    jurisdiction under the first-to-file rule, (MTD Br. at 27—32), that venue is improper in this District,

    (MTD Br. at 32—33), and that the Complaint fails to state a claim for relief under Rule 12(b)(6) of

    the Federal Rules of Civil Procedure, (MTD Br. at 33—37).



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                                      II.    LEGAL STANDARD

           Under federal Rule of Civil Procedure 12(b)(l), a court must grant a motion to dismiss if

    it lacks subject matter jurisdiction to hear a claim. When a defendant challenges subject matter

    jurisdiction under Rule 1 2(b)( 1), the plaintiff bears the burden of persuasion. Hedges v. United

    States, 404 f.3d 744, 750 (3d Cir. 2005). A motion under Rule 12(b)(l) “may be treated as either

    a facial or factual challenge to the court’s subject matter jurisdiction.” Gould Elecs. Inc. v. United

    States, 220 f.3d 169, 176 (3d Cir. 2000). Under a facial attack, the movant challenges the legal

    sufficiency of the claim and the court considers only “the allegations of the complaint and

    documents referenced therein and attached thereto, in the light most favorable to the plaintiff.” Id.

    The SEC’s motion presents a facial challenge to the Court’s jurisdiction as it is based on the

    defense of sovereign immunity. Dempsey v. United States, No. 15-2847. 2015 WL 6561217, at

    *1 (D.N.J. Oct. 29, 2015).



                                            III.   ANALYSIS

            “[T]he United States, as sovereign, is immune from suit save as it consents to be sued.”

    United States v. Mitchell, 445 U.S. 535, 53$ (1980) (quoting Untied States v. Sherwood, 312 U.S.

    584, 586 (1941)). It is well-settled that “[w]ithout a waiver of sovereign immunity, a court is

    without subject matter jurisdiction over claims against federal agencies or officials in their official

    capacities.” Treasurer of NJ v. US. Dep’t oft/ic Treasury, 684 F.3d 382, 395 (3d Cir. 2012).

    Such a waiver “must be express and unambiguous to confer subject matter jurisdiction on a

    court.” Id. at 396. A waiver “must be strictly construed in favor of the sovereign, and the terms

    of the waiver define the extent of the court’s jurisdiction.” Id. (internal citations omitted).

            Plaintiff argues that Section 702 of the Administrative Procedure Act (“APA”), 5 U.S.C.



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                                                                                      16 at 20—23).
    § 702, provides the necessary waiver of sovereign immunity in this case. (ECf No.
                                                                                                  ity
    The Third Circuit has recognized that “[S]ection 702, when it applies, waives sovereign immun

    in ‘nonstatutory’ review of agency action under [23 U.S.C.   §] 1331.”   Jaffee v. United States, 592

    F.2d 712, 718 (3d Cir. 1979). Section 702 of the APA provides, in relevant part:

                   A person suffering legal wrong because of agency action, or
                   adversely affected or aggrieved by agency action within the
                   meaning of a relevant statute, is entitled to judicial review thereof.
                   An action in a court of the United States seeking relief other than
                   money damages and stating a claim that an agency or an officer or
                   employee thereof acted or failed to act in an official capacity or
                   under color of legal authority shall not be dismissed nor relief
                   therein be denied on the ground that it is against the United States
                   or that the United States is an indispensable party.
                                                                                         sovereign
    5 U.S.C.   § 702. Plaintiff asserts that the “plain language [of] Section 702 waives
                                                                                                     than
    immunity for actions against an agency, such as [Plaintiffs] action here, that seek relief other

    money damages.” (ECf No. 16 at 20).

            first, the SEC responds that, in order for the sovereign immunity waiver in Section 702 to
                                                                                      at 23).
    apply, the APA’s other provisions—namely, Section 704—must be satisfied. (MTD Br.
                                                                                              made
    Section 704 of the APA governing reviewable agency actions provides that “[a]gency action
                                                                                              in a
    reviewable by statute and final agency action for which there is no other adequate remedy

     court are subject to judicial review.” 5 U.S.C.   § 704. The SEC argues, therefore, that the APA
                                                                                           action” or
     does not waive sovereign immunity over challenges to actions other than “final agency
                                                                                          Circuit
     actions “for which there is no other adequate remedy.” (MTD Br. at 23—24). The Third
                                                                                          ity in
     has expressly rejected this argument, clarifying that “the waiver of sovereign immun
                                                                                        officers,
     [S]ection 702 extends to all nonmonetary claims against federal agencies and their
                                                                                            action’ as
     regardless of whether or not the cases seek review of ‘agency action’ or ‘final agency

     set forth in [SJection 704.” Treasurer of IVJ, 684 f.3d at 397 (quoting 5 U.S.C.       § 704). Simply


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    put, “{S]ection 704 in limiting review to ‘final agency action’          .   .   .   does not provide a basis for

    dismissal on grounds of sovereign immunity.” id. at 400.

             Next, the SEC argues that an exception to the APA’s sovereign immunity waiver applies

    here. (MTD Br. at 25). Section 702 provides that “[n]othing herein.                    .   .   affects other limitations

    on judicial review.” 5 U.S.C.        § 702. The SEC proposes that Section 2 1(c) of the Securities
    Exchange Act of 1934, 15 U.S.C.         § 7$u(c) (“Section 78u(c)”), which authorizes the SEC to seek
    judicial enforcement of its subpoenas in federal court, presents one such limitation, as it establishes

    the exclusive remedy for challenging the validity of SEC investigations.2 (MTD Br. at 25).

              The Second Circuit has endorsed the SEC’s view. In Sprecl?er v. Grabe,-, 716 F.2d 96$

    (2d Cir. 1983), the Second Circuit considered an action brought by the subject of an SEC

    investigation against the SEC and several of its officials. The SEC had issued a subpoena to

    Sprecher and was seeking enforcement of the subpoena in the Southern District of New York. Id.

    at 971. In the meantime, Sprecher filed a collateral lawsuit in the Eastern District of New York

    seeking to enjoin the investigation, arguing that, inter a/ia, the investigation constituted

    harassment. Id. The Eastern District dismissed the case, and Sprecher appealed. Id. Noting “the

    axiomatic proposition that the United States and federal agencies are immune from suit unless

    Congress has expressly waived sovereign immunity,” the Second Circuit first found that the only

    plausible immunity waiver applicable to Sprecher’s action was the one found in Section 702 of the




    2
        The relevant language of Section 78u(c) is as follows: “In case of contumacy by, or refusal to obey a
        subp[ojena issued to, any person, the Conmiission may invoke the aid of any court of the United States
        within the jurisdiction of which such investigation or proceeding is carried on, or where such person
        resides or carries on business, in requiring the attendance and testimony of witnesses and the production
        of books, papers, correspondence, memoranda, and other records. And such court may issue an order
        requiring such person to appear before the Commission or member or officer designated by the
        Commission, there to produce records, if so ordered, or to give testimony touching the matter under
        investigation or in question; and any failure to obey such order of the court may be punished by such court
        as a contempt thereof.” 15 U.S.C. § 78u(c).
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    APA. ía’. at 973. However, the court concluded that the immunity waiver did not apply to

    Sprecher’s action, which fell into Section 702’s “proviso” that the immunity waiver “does not

    ‘[affect] other limitations on judicial review.” Id. at 974 (quoting 5 U.S.C.       § 702). The court
    reasoned, based on the legislative history of the APA, that “Congress did not intend to waive

    sovereign immunity   .   .   .   where ‘another statute provides a form of relief which is expressly or

    impliedly exclusive.” Id. (quoting H.R. No. 94—1656, p. 3, 94th Cong. 2d Sess. (1976)). Because

    Section 7$u(c) establishes judicial enforcement and review of SEC subpoenas, which “are

    unenforceable absent a court order,” the court held that “Section 7$u(c) is the exclusive method

    by which the validity of SEC investigations and subpoenas may be tested in the federal courts.”

    Id. at 975. The court therefore held that Sprecher’s action to enjoin the SEC investigation fell

    “within the proviso to Section 702 preserving existing limitations on judicial review and [was]

    barred by sovereign immunity.” Id. at 974.

           In a follow-on case to Graber, the Second Circuit reaffirmed its holding, plainly stating

    that “[a] district court has no jurisdiction to award non-monetary relief against an agency on a

    claim that it is conducting an improper investigation where another statute provides an exclusive

    avenue of redress,” and that no such jurisdiction existed to review a collateral challenge to an SEC

    investigation, because “[t]he exclusive method for testing the validity of the SEC’s investigatory

    motives or methods is a contested subpoena enforcement proceeding under 15 U.S.C.            § 7$u(c).”
    Sprecher v. Von Stein, 772 F.2d 16, 18 (2d Cir. 1985).

           District courts in the Second Circuit and elsewhere continue to follow the Sprecher cases

    in holding that Section 702 of the APA does not waive sovereign immunity for actions against the

    SEC challenging the validity of its investigations because Section 7$u(c) establishes the exclusive

    mechanism for such challenges. See, e.g., Arjent LLC v. SEC. 7 F. Supp. 3d 378, 383 (S.D.N.Y.



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    2014) (holding that Section 702 did not waive sovereign immunity in collateral suit for injunctive

    relief against SEC, reasoning that “[b]ecause    .   .   .   the subpoena enforcement proceeding provides

    an opportunity for judicial review of both an investigation’s legitimacy, and a subpoena’s

    legitimacy, the proceeding [pursuant to Section 78u(c)] ‘is the exclusive method by which the

    validity of SEC investigations and subpoenas may be tested in the federal courts”) (quoting

    Graber, 716 F.2d at 975); finazzo v. SEC, No. 08-2 176, 2008 WL 3521351, at *3 (S.D.N.Y. Aug.

    8,2008) (same): Treats Int’l Enters., Inc. v. SEC, 828 F. Supp. 16, 19 (S.D.N.Y. 1993) (denying

    plaintiff’s motion for a preliminary injunction and granting SEC’s motion to dismiss for lack of

    subject matter jurisdiction, concluding that the “complaint seeking to enjoin the SEC’s

    investigation is beyond the limited scope of review available in this court”); see also Cook v. SEC,

    664 F. Supp. 2d 997, 999 (D. Minn. 2009) (denying motion to stay SEC investigation for lack of

    subject matter jurisdiction, holding that “[a] subpoena enforcement action is the exclusive method

    by which the validity of [an SEC] investigation may be challenged”).

           This Court is persuaded by the well-reasoned decisions in the Spree/icr cases and their

    progeny. The parties cite to no case within the Third Circuit either endorsing or rejecting the

    SEC’s argument,3 and the Court has found no such case in its independent review of the legal

    landscape. Accordingly, the Court follows the Sprecher decisions in concluding that Plaintiff’s



     Plaintiff cites to SECv. 17zeeling-Pittshurgh Steel Coip., 648 f.2d 118 (3d Cir. 1981) as a case ml[ing]
     that district courts have jurisdiction to hear challenges of unauthorized SEC investigations.” (ECf No.
     16 at 21—22). Plaintiffs reliance on Wheeling-Pittsburgh as support for his argument that Section 702
     waives sovereign immunity in his case is unavailing. Wheeling-Pittsburgh involved an action by the SEC
     to enforce a subpoena, in which the defendant filed an answer requesting an injunction against the
     investigation, arguing that the agency had acted in bad faith. 648 F.2d at 122—23. As Wheeling-Pittsburgh
     was not an action against the United States or a federal agency, the court did not address the doctrine of
     sovereign immunity at all. Instead, the case is an example of the kind of action that is permissible under
     Spree/icr: a challenge to an SEC investigation brought not as a collateral action naming the agency as a
     defendant, but rather brought as a defense in the context of a Section 78u enforcement proceeding—in
     other words, utilizing “the exclusive method by which the validity of SEC investigations and subpoenas
     may be tested in the federal courts.” Graher, 716 F.2d at 975.
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                                                                                              ding
    challenge to the validity of the SEC’s investigation outside of an SEC enforcement procee
                                                                                                 this
    under Section 7$u(c) is barred by the doctrine of sovereign immunity and is therefore beyond

    Court’s power to review.

            Plaintiff argues that Section 78u(c) “provides no guidance on the question of how the target
                                                                                         ement
    of an unauthorized investigation can assert his rights,” and that the Florida enforc
                                                                                          do not
     proceedings provide an inadequate remedy because they “are summary proceedings which
                                                                                                 t in the
     include the full rights to litigate the case.” (ECF No. 16 at 24,26 n.14). The Second Circui
                                                                                             plenary
     Sprecher cases considered this argument, granting that “the sole reason for authorizing
                                                                                        that judicial
     abuse of process actions in addition to Section 78u(c) proceedings would be a fear
                                                                                              d that
     scrutiny in the latter is too circumscribed.” Graber, 716 F.2d at 975. The court rejecte
                                                                                            Congress in
     argument, however, finding that it “collides head on with the express intention of the
                                                                                            g U.S.C.
     enacting Section 702 to preserve existing ‘limitations on judicial review.” Id. (quotin 5
                                                                                     e strength of the
     § 702). This Court likewise concludes that Plaintiffs concern about the relativ
                                                                                      designed to
     Section 78u(c) remedy “runs counter to the very thrust of Section 702, which was
                                                                                               l review
     waive sovereign immunity only in situations when specific provisions establishing judicia

     do not exist and to leave untouched areas in which such review was       .   .   .   the subject of explicit

     legislation.” Id. at 974—75.
                                                                                                     SEC
             Plaintiff cites to Gupta v. SEC, 796 F. Supp. 2d 503 (S.D.N.Y. 2011), to argue that the
                                                                                        16 at 20).
     is not immune from actions like Plaintiffs that seek non-monetary relief. (ECF No.
                                                                                              t the
     However, in concluding that Section 702 waived sovereign immunity in Gupta’s suit agains
                                                                                    ge Act did not
     SEC, the Southern District of New York held that Section 25(a)(1) of the Exchan
                                                                                               Sprecher
      fall within the exception for exclusive mechanisms of review that was established in the
                                                                                            er—which
      cases. 796 F. Supp. 2d at 509. In other words, Gupta merely declined to extend Sprech



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                                                                                         Act.
    concerned Section 78u(c), as does the case here—to another provision of the Exchange
                                                                                                 tion
    Accordingly, Gupta does not undenriine the reasoning in the Sprecher cases nor their applica

    to the instant litigation.

            Similarly, Plaintiff cannot rely on    mt ‘1   Waste Controls, Inc.   v.   SEC, 362 F. Supp. 117

     (S.D.N.Y.) (“IWcT’), aff’d 485 F.2d 1238 (2d Cir. 1973) to argue that the Court has subject matter
                                                                                               injunctive
    jurisdiction over his action. First, the court in IWCI dismissed the plaintiffs claims for
                                                                                                    e
     relief against the SEC on sovereign immunity grounds, so that case hardly supports the exercis
                                                                                              Circuit
     ofjurisdiction here. 362 F. Supp. at 120. Second, after the decision in IWC4 “the Second
                                                                                               Circuit
     subsequently issued the Spree/icr Cases. thus[] effectively abrogating any earlier Second
                                                                                                             ”
     district court rulings that might have arrived at a conclusion contrary to that of the Spree/icr Cases.
                                                     *9 (S.D. Fla. Oct. 8,2009). “Therefore, ICWI
     SECv. Httf/ No. 08-603 15, 2009 WL 10667890, at
                                                                                                      iffs]
     does not provide a basis for this Court to conclude that it has jurisdiction to entertain [Plaint

     [m]otion” for a preliminary injunction in this case. Id.

             Finally, Plaintiff attempts to distinguish Spree/icr and Aijent by arguing that the plaintiffs

     in those cases were the subjects not only of the SEC’s investigations but of the Section 78u(c)
                                                                                          genuine
     subpoena enforcement proceedings themselves, and that those plaintiffs therefore had
                                                                                        collateral
     opportunities to challenge the SEC’s motives and methods in court outside of their

     actions.   (ECf No. 16 at 25—26).         Here, by contrast, the SEC has commenced subpoena

                                                                                                his
     enforcement actions against two witnesses other than Plaintiff, forcing Plaintiff to bring
                                                                                                 SEC has
     challenge collaterally or to intervene in the Florida actions. Plaintiff maintains that the
                                                                                                of its
      issued subpoenas only to other witnesses as part of an effort to “avoid any judicial test
                                                                                              have an
      conduct,” and expresses a desire for an enforcement action against him so that he might

      opportunity to challenge the SEC’s investigation. (ECF No. 16 at 24).



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              The Court finds that the reasoning underlying the Sprecher line of cases is not so narrow

    as to bar only those collateral challenges brought by direct subjects of SEC subpoena enforcement

    actions. “A district court has no jurisdiction to award non-monetary relief against an agency on a

    claim that it is conducting an improper investigation where another statute provides an exclusive

    avenue of redress.”     Von Stein, 772 F.2d at 1$.         In enacting Section 7$u(c) as the “exclusive

    avenue” for challenging an SEC investigation, Congress did not necessarily guarantee that this

    avenue would be available at any time to any individual or entity who could conceivably be

    implicated by that investigation.4 Rather, that avenue is guaranteed to those individuals and

    entities presently facing direct legal consequences from the SEC’s enforcement authority. See

    Aijent, 7 F. Supp. 3d at 384 (“Parties who are the subject of [SEC] subpoenas are free in a

    [subpoena enforcement proceeding] to raise claims of abuse of process.”) (quoting Graber, 716

    F.2d at 974). “[T]he subpoena enforcement proceeding provides an opportunity for judicial review

    of both an investigation’s legitimacy [as well as] a subpoena’s legitimacy.”                     Id. at 383.

    Accordingly, the subjects of the Florida enforcement proceedings are free to challenge the SEC’s

    motives or methods or to argue that the investigation is unauthorized—as indeed they already

    have—in those actions. See Response to Petition (Complaint) to Enforce/Compel at 15—19, Mann,

    No. 19-20493 (S.D. Fla. Mar. 8, 2019) (ECF No. 13); Response to Petition (Complaint) to

    Enforce/Compel at 9—11, MinTrade Techs., No. 19-20496 (S.D. Fla. Feb. 26, 2019) (ECF No. 13).

    Contrary to Plaintiffs argument, then, the necessity of Section 78u(c) proceedings ensures that the




     Indeed, at least in this forum and under these circumstances, it is less than clear that Plaintiff—a non-party
     to the judicial intervention sought in connection with the Florida investigation thus far—is in a position
     to challenge the investigation as an abuse of process. Cf Hqff 2009 WL 10667890. at *7 (holding that
     Section 7$u(c) does not justify jurisdiction for the Court to entertain the Huffs requests to quash the
     SEC subpoenas as they relate to individuals and entities other than the Huffs and the companies they
     own,” since “[t]hese other individuals and entities’ failures to comply with the SEC subpoenas could not
      •  expose the Huffs to criminal prosecution”).
          .




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    agency is not able to “avoid any judicial test of its conduct.” (ECF No. 16 at 24).

            Moreover, Plaintiff acknowledges that he has already moved to intervene in the two Florida

    enforcement actions to lodge his abuse-of-process claim. (ECF No. 16 at 20 n.ll, 26 n.14). The
                                                                                               to
    SEC has opposed Plaintiffs intervention in those actions. Response in Opposition re Motion

    Intervene, Mann, No. 19-20493 (S.D. Fla. Apr. 22, 2019) (ECF No. 45); Response in Opposition

    re Motion to Intervene. Minlrade Tee/is., No. 19-20496 (S.D. FIa. Apr. 24, 2019) (ECF No. 24).

    This Court does not take a position on whether Plaintiff may intervene in those actions under

    Federal Rule of Civil Procedure 24, as that issue is solely before the Southern District of Florida.

    The Court merely notes that proper intervention in those actions may provide an adequate forum

     for Plaintiff to challenge the Florida investigation in a manner consistent with Section 702’s

     limited waiver of sovereign immunity. Nevertheless, Plaintiff argues that this Court must entertain

     his motion because he “should not be forced to individually intervene and defend against each

     SEC subpoena enforcement action pursuant to [the Trader’s Café FOl],... [as s]uch a requirement

     would subject him to potentially endless litigation.” (ECF No. 16 at 26 n.14). But PLaintiff is by
                                                                                                   the
     no means “forced” to intervene in the Florida actions; he is free to reserve his challenge to

     integrity of the investigation in the context of an eventual SEC enforcement proceeding against

     him. The fact remains that Congress has designated an exclusive mechanism for such challenges,

     and that mechanism is in response to a proceeding initiated by the SEC.

             Plaintiff will have an opportunity and a forum in which to challenge the Florida

     investigation’s legitimacy when or if the SEC seeks some judicial intervention as to him—i.e., a
                                                                                        under
     subpoena enforcement proceeding under Section 7$u(c) or a civil enforcement action

     Section 78u(d). Plaintiffs argument here “is, in effect, that because [he has] a good defense to [an

     eventual] enforcement action   .   .   .   ,the S.E.C. will not be successful; and since the agency will not



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                                                                                                   Sees.
    ultimately succeed, the [C]ourt should intervene tiow to stop adverse publicity.” first Jersey

    Inc., v. S.E.C., 553 F. Supp. 205, 211—12 (D.N.J. 1982) (denying request for an order enjoining

    SEC from filing complaint “[b]ecause plaintiffs have an adequate remedy at law, [and] this court
                                                                                                       as
    lacks jurisdiction to issue the requested injunction”). Plaintiff may properly raise his challenge
                                                                                                   collateral
     a defense in an action instituted by the SEC, but, until that time, Plaintiff may not bring a
                                                                                              matter
     action to enjoin the investigation.5 The Court therefore concludes that it lacks subject

    jurisdiction to hear this case.6



                                                IV.      CONCLUSION

              For these reasons, the SEC’s motion to dismiss is granted.                       Plaintiffs motion for a

     preliminary injunction is denied as moot. An appropriate Order accompanies this Opinion.


                                                                                                            Th



     DATED: May /1/#20l9
                                                                      JOSE L. LfNARES
                                                                      Chief Judge, United States District Court


        Insofar as Plaintiff argues that Htff 2009 WL 10667890, stands for the proposition that once the [SEC]
                                                                                                                        itself
        invokes a district court’s process to enforce a subpoena, [it] waives sovereign immunity and opens
        up to suit,” Plaintiff mischaracterizes Htff (ECF No. 16 at 22; see also ECF No. 16 at 27 (“[Plaintiff]
                                                                                                                           for
        believed he had to wait until the SEC tried to enforce a subpoena in court before bringing his case
        abuse of process against the SEC in the District of New Jersey.’)).   The  court  in Hzffrelied   on the   Spree/icr
        cases to conclude that the plaintiffs’ claims for injunctive relief against the SEC were barred by sovereign
                                                                                                                           the
        immunity, as they “[did] not arise in the context of proceedings initiated by the SEC to enforce
                                                                                                                       by  the
        subpoenas at issue.” 2009 WL 10667890, at *7 The court merely characterized the issue decided
                                                                                                                            an
        Sprecher cases and their progeny as “[w]hetherjurisdiction lies to consider a claim that seeks to enjoin
                                                                       subpoenas   issued   in that investigation   .”  Id.  at
         SEC investigation before the SEC has attempted to enforce
         *4 To the extent Plaintiff reads this as a suggestion that          once  the   SEC    commences      a   subpoena
                                                                                                                        in no
        enforcement proceeding, it opens itself up to challenges within that proceeding, such a suggestion
                                                                                                         collateral   attacks
         way implies that the commencement of the proceeding waives sovereign ilmnunity for
         on the SEC’s investigation in other forums.
                                                                                                                  to actions
      6
         The SEC argues altemativety that the APA’s sovereign immunity waiver does not apply
         challenging “agency action.. conmiitted to agency discretion
                                          .
                                                                            by law.”   5 U.S.C.   § 701(a)(2).     Although
                                                                                      the  Court  need   not opine    on this
         the Spree/icr cases support this view, see Graher, 716 F.2d at 974—75,
         exception to Section 702, as the Court finds that sovereign immunity bars this action        on other   grounds.

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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


     GUY GENTILE,                                          Civil Action No.: 19-5 155 (JLL) (JAD)
                         Plaintiff,
                                                                       ORDER
     V.


     SECURITIES AND EXCHANGE
     COMMISSION,

                        Defendants.


           This matter comes before the Court by way of Plaintiff Guy Gentile’s motion for a

    preliminary injunction against Defendant Securities and Exchange Commission (“SEC”), (ECf

    No. 5), and the SEC’s motion to dismiss, (ECf No. 11). for the reasons set forth in the Court’s

    corresponding Opinion,

            ITlSonthis /%47 dayofMay, 2019,

            ORDERED that the SEC’s motion to dismiss for lack of subject matter jurisdiction, (ECF

    No. 11), is GRANTED; and it is further

            ORDERED that Plaintiffs motion for a preliminary injunction, (ECF No. 5), is DENIED

    as moot; and it is further

            ORDERED that the Clerk of the Court should mark this matter CLOSED.

            SO ORDERED.




                                                      JOSE L. LINARES
                                                     Qffief Judge, United States District Court
